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 3
     Attorney for Defendant, Sakander Amin
 4
 5                       IN THE UNITED STATES DISTRICT COURT
 6                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,                   ) Case No.: 2:10-CR-00364-MCE
                                                 )
 9                                               )
                  Plaintiff,                     ) STIPULATION AND ORDER
10         vs.                                   ) RESETTING STATUS CONFERENCE
                                                 ) AND EXCLUDING TIME UNDER
11                                               )
     SOHAIL AMIN, and                            ) THE SPEEDY TRIAL ACT
12   SAKANDER AMIN,                              )
                                                 ) Date:   September 1, 2011
13                                               )
                  Defendant(s).                  ) Time: 9:00 a.m.
14                                               ) Judge: Hon. Morrison C. England
15
16         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
17   Status Conference scheduled for July 28, 2011, at 9:00 a.m., is continued to September 1,
18   2011, at 9:00 a.m., in the same courtroom. Michael M. Beckwith, Assistant U.S.
19   Attorney, Thomas A. Johnson, Attorney for Defendant Sakander Amin, and Cristina C.
20   Arguedas, Attorney for Defendant Sohail Amin, all agree to this continuance.
21         It is further stipulated that the period from the date of this stipulation through and
22   including September 1, 2011, be excluded in computing the time within which trial must
23   commence under the Speedy Trial Act, pursuant to 18 USC 3161(h)(7)(a) and (b)(iv) and
24   Local T4 (reasonable time for preparation of counsel).
25         IT IS SO STIPULATED.
26   ///
27   ///
28   ///



                           STIPULATION AND ORDER                      -1-
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     DATED: July 21, 2011              By:   /s/ Thomas A. Johnson_____
 1                                           THOMAS A. JOHNSON
                                             Attorney for Defendant
 2                                           SAKANDER AMIN
 3
     DATED: July 21, 2011              By:   /s/ Cristina C. Arguedas_____
 4                                           CRISTINA C. ARGUEDAS
                                             Attorney for Defendant
 5                                           SOHAIL AMIN
 6
     DATED: July 21, 2011                    BENJAMIN WAGNER
 7                                           United States Attorney
 8                                     By:   /s/ Michael M. Beckwith_
                                             MICHAEL M. BECKWITH
 9                                           Assistant U.S. Attorney
10
11
          IT IS HEREBY ORDERED.
12
13        It is ordered that the July 28, 2011, status conference
14   shall be continued until September 1, 2011, at 9:00 a.m.                It Is
15   further ordered that the time from the date of the parties'
16   stipulation, July 22, 2011, to and including September 1, 2011,
17   shall be excluded from computation of time within which the
18   trial of this case must be commenced under the Speedy Trial Act,
19   pursuant to 18 U.S.C. § 3161(h)(7)(A) T4 (reasonable time for
20   both counsel to prepare).      The Court finds that the ends of
21   justice to be served by granting the requested continuance
22   outweigh the best interests of the public and defendant in a
23   speedy trial.
24
25   DATED: July 28, 2011
                                    _______________________________________
26                                  MORRISON C. ENGLAND, JR.
27                                  UNITED STATES DISTRICT JUDGE

28



                        STIPULATION AND ORDER              -2-
